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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:05CR3138
                                        )
             V.                         )
                                        )
PHILLIP EMANUEL CAMACHO,                )     MEMORANDUM AND ORDER
                                        )
                   Defendant.           )
                                        )


      On November 21, 2006, the defendant, Phillip Emanuel Camacho, filed a
“Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a
Person in Federal Custody. (See filing 133.) ) Subjecting the motion to initial
review under Rule 4(b) of the Rules Governing Section 2255 Proceedings for the
United States District Courts, I will dismiss the motion with prejudice.

                                I.   BACKGROUND

       In an indictment filed on December 15, 2005, the defendant was charged with
participating in a conspiracy to distribute and possess with the intent to distribute
various controlled substances in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1), and
846. (See Indictment, filing 1.) Initially, the defendant pleaded not guilty to the
charge (see filing 10); however, on February 27, 2006, the defendant withdrew his
plea of not guilty and entered a plea of guilty (see filing 45). On May 16, 2006, I
sentenced the defendant to the custody of the Bureau of Prisons for a term of 60
months; five years of supervised release with special conditions; and special
assessment in the amount of $100. (See filings 74, 76.) I strongly recommended that
he participate in a drug treatment program while in prison. (See filing 76 at 2.)
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      On November 21, 2006, the defendant filed the instant motion. (See filing
133.) In this motion, the defendant argues that he was denied effective assistance of
counsel. (See id. at 4.) More specifically, he states,

             The judge ordered an inpatient drug rehab program to be
      completed before my release from prison. I was not aware there would
      be subsequent years of supervised release. The Federal government no
      longer offers parole. Therefore, I believe my punishment is being
      doubled. To prevent double jeopardy, I ask that the intensive supervised
      release be eliminated.

(Id.) My analysis of the defendant’s motion follows. 1

                          II.   STANDARD OF REVIEW

        A motion to vacate, set aside, or correct a sentence may be based “upon the
ground that the sentence was imposed in violation of the Constitution or laws of the
United States, or that the court was without jurisdiction to impose such sentence, or
that the sentence was in excess of the maximum authorized by law, or is otherwise
subject to collateral attack . . . .” 28 U.S.C. § 2255, ¶ 1. A § 2255 motion may be
denied without an evidentiary hearing if the case files and records show conclusively
that the prisoner is entitled to no relief. See id. ¶ 2; see also Engelen v. United States,
68 F.3d 238, 240 (8th Cir. 1995) (“[A] petition can be dismissed without a hearing if
(1) the petitioner’s allegations, accepted as true, would not entitle the petitioner to
relief, or (2) the allegations cannot be accepted as true because they are contradicted


      1
       I sentenced the defendant, who was one of four codefendants. The case was
then reassigned to Judge Urbom and the remaining three codefendants went to trial
before him in December 2006. A mistrial was declared, and trial has been rescheduled
for March 2007. The 2255 motion was filed after the reassignment to Judge Urbom,
but the Clerk referred it to me. Since I sentenced the defendant, Judge Urbom and I
have agreed that I should handle the motion.
                                            2
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by the record, inherently incredible, or conclusions rather than statements of fact.”).

                                 III.   ANALYSIS

       The defendant’s § 2255 motion is based upon allegations that are contradicted
by the record. The defendant claims that he was denied effective assistance of
counsel because he was not made aware that he would be subject to supervised
release at the conclusion of his term of incarceration. (Filing 133 at 5.) However, the
plea agreement, which was signed by the defendant, states, “You understand that by
entering this plea of guilty, you are exposed to . . . at least four years of supervised
release . . . .” (Filing 47, ¶ 1.) The defendant’s awareness that his punishment would
include a minimum of four years of supervised release is also established by his
petition to enter a plea of guilty (see filing 46, ¶ 13(b)) and the transcript of the
change of plea proceedings (see filing 58, Tr. at 3:20-4:2; 5:17-6:1, 13:7-24).

       To the extent the defendant asserts that his counsel was ineffective because
counsel failed to ensure that he was aware there was no possibility of parole, that
assertion is also belied by the record. During the change of plea proceedings, the
defendant answered “yes” when asked whether he understood that “if you are
sentenced to a period of confinement, you will serve all of that time in prison, there
is no parole, so your time in custody will be reduced only by whatever good time you
may earn, if you earn it, up to 54 days a year.” (See filing 58, Tr. at 12:25-13:4.)

       Since the defendant’s motion is based upon allegations that cannot be accepted
as true, I shall deny the motion “without first holding an evidentiary hearing.” United
States v. Regenos, 405 F.3d 691, 694 (8 th Cir. 2005).2

      2
       I note parenthetically that the supervised release component of the defendant’s
sentence clearly does not violate the Double Jeopardy Clause. See, e.g., United States
v. Satek, Crim. No. 04-236 ADM/AJB, 2006 WL 1662906, at *2 (D. Minn. June 13,
2006) (noting that the imposition of a term of supervised release authorized by statute
                                           3
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      IT IS ORDERED that the defendant’s § 2255 motion (filing 133) is denied with
prejudice in all respects, and a separate judgment shall be entered accordingly.

      January 8, 2007                   BY THE COURT:

                                        s/Richard G. Kopf
                                        United States District Judge




is part of the punishment for the original offense).
                                          4
